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                                                                                        April 21, 2025

          VIA ECF
          Office of the Clerk
          United States Court of Appeals for the Third Circuit
          21400 U.S. Courthouse
          601 Market Street
          Philadelphia, PA 19106-1790

                      Re:          Consolidated Case Nos. 25-1555 – 25-1578; 25-1580 – 25-1593; 25-1676 – 25-1677

          To the Clerk of the Court:

                  Pursuant to Federal Rule of Appellate Procedure 26, 27, and 29, and Local Rule 31.4, putative
          amici curiae, the Consumer Data Industry Association, the Software & Information Industry Association,
          and the Coalition for Sensible Public Records Access (“Putative Amici”), file this letter motion for an
          extension of time through and including Friday, May 2, 2025, to file an amicus brief in support of Appellant
          We Inform LLC, and the other Appellants in the cases consolidated herewith.

                  These cases are on appeal from the United States District Court for the District of New Jersey. All
          Appellants in the consolidated cases have noted appeals to the District Court’s order denying the
          Appellants’ motions to dismiss on the grounds that Daniel’s Law is facially unconstitutional. The district
          court certified its order for appeal under 28 U.S.C. § 1292(b). Appellants filed their opening brief on April
          14, 2025, as Docket No. 37 in Case No. 25-1555.

                   Putative Amici have sought consent from all parties to these appeals for Putative Amici to file
          their brief. As of the time of filing, no party has indicated that they will object, although Putative Amici
          have not yet received consent from Appellees. Putative Amici have not sought prior extensions of time
          in this matter. Under Federal Rule of Civil Procedure 29(a)(6), absent the requested extension, Putative
          Amici’s brief is due today.

                  Putative Amici have worked diligently to timely prepare and file an amicus brief in support of
          Appellants. Putative Amici require additional time to perfect their brief with counsel, due to the important
          nature of the question at issue, the desire of Putative Amici to present their arguments in a clear and
          concise manner, and the need of the several Putative Amici to confer with each other and their counsel.
          Each of the Putative Amici are trade associations, and cumulatively they have hundreds of members,
          which contributes to the time needed for the deliberative process. Appellees will not be prejudiced by
          the requested extension as their opposition brief is due May 12, 2025. FRAP 26 and 29, and Local Rule
          31.4, vest this Court with the discretion to grant this extension for good cause.
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          Counsel for Putative Amici contacted the Clerk’s office on Friday, April 18, pursuant to Local
Appellate Rule 31.4, to request an extension through and including Friday, May 2, 2025. Consistent with
the guidance from the Clerk’s office, Putative Amici entered their counsel’s appearance and attempted to
file this extension request via ECF on Friday. Putative Amici were unable to file their request on Friday,
due to technical and logistical issues heading into the holiday weekend.

        For the foregoing reasons, Putative Amici respectfully request that this Court grant them an
extension of time to file an amicus brief through and including May 2, 2025.

                                                         Respectfully Submitted,

                                                         /s/ Jennifer L. Sarvadi

                                                         Jennifer L. Sarvadi
                                                         Counsel for Amici Curiae Consumer Data Industry
                                                         Association, Software & Information Industry
                                                         Association, and Coalition for Sensible Public
                                                         Records Access
